3:10-Cv-03156-S| Docu

CJA 20_APPOINTMENT OER Xb AUTHORITY TO PAY COURT AP

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Filed 06/20/12 Page 1 of 1

 

1. CIR/DIST./ DIV.CODE 2. PERSON REPRESENTED
CAU CARLIN, JAMES

 

VOUCHER NUMBER

 

 

3. MAG. DKT.DEF. NUMBER 4. DIST. DKT.DEF, NUMBER
CV-10-03156-SI

5. APPEALS. DKT./DEF, NUMBER
11-17103

6. OTHER DKT NUMBER

 

7. IN CASE/MATTER OF ( Case Name) {8 PAYMENT CATEGORY

o Felony

 

Other... © Adult Def
JAMES CARLIN V. VINCE Misdemeanor q Favente Defendant (See Instructions )
CULLEN ©) Pery Cites __. Hains Apoial _.]. Anpeleo_-_ Paciioner aApwetiant HA

 

11. OF FENSE(S) CHARGED ( Cite U. S. Code, Title & Section) [fmore than one offense, list (up to five) major offenses charged, according to severity of offense

2832254

9. TYPE PERSON REPRESENTED 10, REPRESENTATION TYPE

 

 

 

12. ATTORNEY'S NAME ( First Name, M. I.., Last Name, including any suffix),
AND MAILING ADDESS

MARGARET LITTLEFIELD
P. O. BOX 337
BOLINAS, CA 94924

TelephoneNumber___ 415-868-9209
14. NAME AND MAILING ADDRESS OF LAW FIRM ( Only provide, ov)

instructions, e
anit

LAW OFFICES OF MICHAEL Shit

 

13. COURT ORDER
O Appointing Counsel LJ € Co-counsel
] F Subs For Federal Defender (_] R Sub for Retained Atty.
1] P Subs for Panel Attorney Oly Standby Counsel
Prior Attorney's Name:
Appointment Date:

Because the above -named person represented has testified under oath or has
otherwise satisfied this court that he or she (1) is financially unable to rp gies
counsel and (2) does not wish to waive counsel, and because the interest of justice so
require, the attorney whose name appears in item 12 is inted ta represent this
person in this case,

oO Other (See Instructions

 

     

 

 

 

 

  

 

 

 

 

 

 

P.O. BOX 337 ) yn Z 9 Hon, Judge lilston oe —_ =
BOLINAS CA 94924 . = Stas Of Presidin: icial Officer or By Order Of The Court
green _f& Lah 6/13/2012
en W. roy UME RK ate Of Order Nunc Pro Tune Date
ARE opal “Egan =
ach g ns ‘ OF Sh epayment or partial repayment ordered from the person represented for this service
eK v- . \G\ at time of appointment. Oyes Ono
TOTAL MATH/TECH | MATH/TECH
CATEGORIES (attached itemization of services with dates) npeES AMOUNT ADJUSTED ADJUSTED AEDIENAL
CLAIMED REVIEW
15. a. Arraignment And/or Plea é a ee
b. Bail And Detention Hearings
c. Motion Hearings
&]-4Trial
8 e. Sentencing Hearings
= f. Revocation Hearings
=

 

 

 

 

 

 

 

 

 

 

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b, Obtaining and reviewing records
c. Legal research and brief writing

 

 

d, Travel time

 

 

 

 

 

 

Out Of Court

. Investigative and other work (Specify on additional sheets,

‘RA: ; IURe=s ea) LOTTA

Travel 0. rkin a.

e. Ofc.

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x

 

 

| 18. Ex s_( other expert, transcri tc,

i

Ga ee

19. CERTIFICATION OF ATTORNEY/PAYEE FOR TE PERIOD OF SERVICE

FROM: TO:

 

 

 

 

 

 

 

20. APPOINTMENT TERMINATION DATE
IF OTHER THAN CASE COMPLETION

 

 

21, CASE DISPOSITION

 

 

22, CLAIM STATUS O Final Payment

Have you previously applied to the court for compensation and/or reimbursement for this case?
Other than from the court, have you, or to your knowlege has anyone else, received payment (compensation or anything of value) from any other source in connection with thi

representation? Qlyes [1 No _Ifyes, give details on additional sheets,
I swear or affirm the truth or correctness of the above statements..

 

0) Interim Payment Number

C1 Supplemental Payment

O ves () No Ityes, were you paid? (] yes 1 No

 

23, INCOURT COMP, 24, OUT OF COURT COMP.

   

25. TRAVEL EXPENSES

 

27. TOT. AMT. APPR./CERT,

26. OTHER EXPENSES

 

28. SIGNATURE OF THE PRESIDING JUDICIAL OFFICER

DATE 28A. JUDGE/MAG CODE

 

29, IN COURT COMP. 30, OUT OF COURT COMP.

 

 

31. TRAVEL EXPENSES

32. OTHER EXPENSES 33. TOTAL AMT. APPROVED

 

 

34, SIGNATURE OF CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE) Payment

approved in excess of the statutory threshold amount.

DATE 34A,. JUDGE CODE

 

 

 

 
